     Case 2:19-cv-04673-DMG-JEM Document 1 Filed 05/29/19 Page 1 of 27 Page ID #:1



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 2   BARNES & THORNBURG LLP
     2029 Century Park East, Suite 300
 3   Los Angeles, California 90067
     Telephone: 310.284.3880
 4   Facsimile: 310.284.3894
 5
     Attorneys for Plaintiff,
 6   Global One Accessories, Inc.
 7

 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10    GLOBAL ONE ACCESSORIES, INC., Case No.
11    a New York corporation,
12                                          COMPLAINT FOR:
                          Plaintiff,
13
                  v.                           (1) Breach of Contract
14
                                               (2) Breach of the Implied Covenant of
15    LOOT CRATE, INC. a Delaware                  Good Faith and Fair Dealing
16    corporation, CHRIS DAVIS, an
      individual,                              (3) Promissory Estoppel
17
                        Defendants.            (4) Common Count: Goods Sold and
18
                                                   Delivered
19
                                               (5) Common Count: Open Book
20                                                 Account
21

22                                          [JURY TRIAL DEMANDED]

23

24

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28


                                         COMPLAINT
     Case 2:19-cv-04673-DMG-JEM Document 1 Filed 05/29/19 Page 2 of 27 Page ID #:2



 1                                         COMPLAINT
 2         Plaintiff Global One Accessories, Inc. (“Global One”) hereby submits its
 3   Complaint against Defendants Loot Crate, Inc. (“Loot Crate”) and Chris Davis
 4   (“Davis”) (collectively “Defendants”) and alleges as follows:
 5                                PRELIMINARY STATEMENT
 6         1.     This lawsuit is necessary because Loot Crate, one of the largest
 7   subscription box suppliers in the United States, has repeatedly taken advantage of one of
 8   the merchandise vendors that it relies on to create the very products it sells.
 9         2.     For more than a year, Global One supplied Loot Crate with the custom
10   goods, clothing, and merchandise that Loot Crate repackages and sells to its customers
11   via subscription “Loot Boxes” for which it currently charges $24.99 a month plus
12   shipping and handling. Despite receiving this steady cash flow from its paying
13   subscribers, Loot Crate has repeatedly and consistently failed to honor its contractual
14   obligations to Global One and has failed to pay Global One for the merchandise it re-
15   sells. Rather than honoring its obligations, Loot Crate and its CEO, Chris Davis, have
16   made, and then quickly broken, numerous repeated promises to pay Global One for the
17   goods it delivered.
18         3.     To date, Loot Crate owes Global One $826,736.75. On May 10, 2019,
19   Global One made one last attempt to convince Loot Crate to honor its contractual
20   obligations and to pay Global One the money it owes. Loot Crate declined to do so –
21   thus forcing Global One to initiate this litigation.
22                                         THE PARTIES
23         4.     Plaintiff Global One is a corporation organized and existing under the laws
24   of the State of New York with its principal place of business located at 7 Shaker Hollow
25   Road, East Setauket, New York, 11733.
26         5.     Upon information and belief, Defendant Loot Crate is a corporation
27   organized and existing under the laws of the State of Delaware with its principal place
28   of business at 3401 Pasadena Avenue, Los Angeles, California 90031.

                                                    1
                                              COMPLAINT
     Case 2:19-cv-04673-DMG-JEM Document 1 Filed 05/29/19 Page 3 of 27 Page ID #:3



 1         6.     Upon information and belief, Defendant Chris Davis resides in Los
 2   Angeles County, California.
 3         7.     Global One is informed and believes, and based thereon alleges, that at all
 4   times herein mentioned, each defendant was the agent, principal and/or employee of
 5   each other defendant in the acts and conduct alleged herein and therefore incurred
 6   liability to Global One for the acts alleged below. Global One is further informed and
 7   believes, and based thereon alleges, that at all times mentioned, all Defendants acted
 8   within the course and scope of their employment and/or said agency.
 9                               JURISDICTION AND VENUE
10         8.     This Court has subject matter jurisdiction over this action pursuant to 28
11   U.S.C. § 1332 in that there is complete diversity of citizenship between the parties and
12   the amount in controversy exceeds $75,000.
13         9.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(1),
14   1391(b)(2), 1391(b)(3), and 1391(d).
15                                 GENERAL ALLEGATIONS
16         10.    Plaintiff Global One manufactured men’s, women’s, kids’, home, and
17   beauty accessories for some of the biggest brands in the world.
18         11.    On information and belief, Defendant Loot Crate is a multi-million dollar
19   subscription box service which provides monthly boxes of “geek and gaming related”
20   merchandise to its customers in exchange for a monthly fee. In 2016, Loot Crate was
21   ranked number one in Inc. 5000’s annual ranking of the fastest growing private
22   companies in America. In its first five years, Loot Crate has delivered over 14 million
23   “crates” to customers in 35 territories across the globe. Defendant Chris Davis is the
24   co-founder and CEO of Loot Crate.
25         12.    On or about January 15, 2018, Global One entered into a contract with
26   Loot Crate to provide manufacturing and supply services to Loot Crate. Attached as
27

28

                                                  2
                                             COMPLAINT
     Case 2:19-cv-04673-DMG-JEM Document 1 Filed 05/29/19 Page 4 of 27 Page ID #:4



 1   Exhibit 11 and, incorporated herein by reference, is a true and correct copy of the
 2   Manufacturer/Vender/Supplier Agreement and Handbook (the “Vendor Agreement”)
 3   between Loot Crate and Global One.
 4          13.     Between September 2, 2018 and the present, Loot Crate submitted and
 5   Global One accepted twenty-three Purchase Orders pursuant to Paragraphs 4(a)-(b) of
 6   the Vendor Agreement. Pursuant to Paragraphs 7(a)-(d) of the Vendor Agreement, on
 7   information and belief, Loot Crate received, inspected, and accepted the products
 8   Global One provided to it pursuant to these Purchase Orders.
 9          14.     Despite ordering, receiving, and accepting goods under the Purchase
10   Orders described above, Loot Crate nevertheless failed to pay Global One the agreed
11   upon purchase price for the goods. To date, Loot Crate owes Global One $826,736.75
12   in outstanding payments for these goods. Attached hereto as Exhibit 2, and incorporated
13   herein by reference, is a true and correct copy of a letter to Defendant Davis setting
14   forth the outstanding amounts that Loot Crate owes to Global One under the Vendor
15   Agreement and the parties’ Purchase Orders.
16          15.     On information and belief, Loot Crate retained third-party Dendera
17   Advisory, LLC to “structure payment plans for some of the company’s key vendors.” In
18   July 2018, Loot Crate approached Global One and offered a “payment plan” by which
19   Loot Crate would finally pay its outstanding amounts to Global One. Nearly a month
20   later, and after several requests for details from Global One, the parties executed their
21   Payment Agreement (“the Payment Agreement”), under which Loot Crate was to make
22   structured payments totaling $1,524,401.00 to Global One. Attached hereto as Exhibit 3
23   is a true and correct copy of the Payment Agreement between Loot Crate and Global
24   One.
25

26   1
      Plaintiff files concurrently with this Complaint an Application to File Exhibit 1 Thereto Under Seal.
     Loot Crate’s form Manufacturer/Vender/Supplier Agreement and Handbook contains a confidentiality
27   provision and, for that reason, Plaintiff has sought leave to file Exhibit 1 to this Complaint under seal.
     Plaintiff’s Complaint expressly incorporates Exhibit 1 (which is attached to the declaration in support
28   of the Application to File Under Seal) by reference.

                                                          3
                                                    COMPLAINT
     Case 2:19-cv-04673-DMG-JEM Document 1 Filed 05/29/19 Page 5 of 27 Page ID #:5



 1         16.    Despite entering into the Payment Agreement with Global One in August
 2   2018, Loot Crate almost immediately breached its obligations thereunder. By way of
 3   example only, Loot Crate should have paid Global One $118,520.92 on October 19,
 4   2018 and $126,607.28 on November 2, 2018. Yet, by November 9, 2018 Global One
 5   had only received $50,000. By January 2019, Loot Crate was once again substantially
 6   behind on its promised payments to Global One.
 7         17.    On or about March 14, 2019, Defendant Davis, Loot Crate’s co-founder
 8   and CEO emailed Global One’s representatives and again admitted that Loot Crate had
 9   not paid Global One for products it had delivered and had breached the Vendor
10   Agreement and the Payment Agreement. Defendant Davis stated:
11
                  We apologize for the communication during the transition
12                period with Scott and past compliance with the prior payment
                  plan. We are in the middle of a capital raise and will be out of
13
                  this current tight liquidity situation by July and anticipate being
14                able to make a full pay down by then. If we complete the raise
                  prior we will make every effort to accelerate this plan. I wanted
15
                  to make sure we sent you a plan that I can commit to. Also, I
16                wanted to give your team confidence that you will be paid in
                  full. We have stable recurring revenue from our subscriber base
17
                  and have been tightly managing operating expenses until we get
18                through the current payables crunch. It is my priority to make
                  you and our other partners whole ASAP. I’m happy to speak
19
                  with anyone from your team to chat through the business and
20                any questions around our plan.
21   Attached hereto as Exhibit 4, and incorporated herein by reference, is a true and
22   correct copy of the email correspondence between Chris Davis and Global One’s
23   representatives.
24         18.    Pursuant to Defendant Davis’ email, Loot Crate promised to make
25   payments to Global One according to the following schedule:
26
                                  Amount                     Date
27

28                                                 $50,000     4/5


                                                   4
                                             COMPLAINT
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 1
                                                  $50,000   4/19
 2
                                                  $50,000    5/3
 3
                                                  $50,000   5/17
 4

 5                                                $50,000    6/7

 6                                                $50,000   6/14

 7                              Balance Paydown ~$500k      7/12

 8
           19.   Despite these representations from its CEO, Loot Crate has not paid Global
 9
     One as set forth above.
10
                                 FIRST CAUSE OF ACTION
11
                                      (Breach of Contract)
12
                                        (All Defendants)
13

14
           20.   Global One reasserts and incorporates herein by reference the allegations

15
     set forth above, the terms of the Vendor Agreement, the Purchase Orders thereunder, the

16
     Payment Agreement, and Davis’s March 14, 2019 promised payment schedule

17
     (collectively, Loot Crate’s “Contractual Obligations”). Global One further incorporates

18
     by reference Exhibits 1 through 4 to this Complaint.

19         21.   Global One and Loot Crate entered into valid contracts, the Contractual
20   Obligations, wherein Global One agreed to sell and Loot Crate agreed to purchase
21   certain, goods, wares, and merchandise.
22         22.   Under the Vendor Agreement, Loot Crate submitted and Global One
23   accepted more than twenty Purchase Orders. These Purchase Orders include, inter alia,
24   Purchase Order Nos. 3545, 3759, 3793, 3493, 3860, 3821, 3806, 3904, 3590, 3981,
25   4104, 4051, 4066, 4101, 4084, 4044, 4438, 4458, 4544, and 4546. Global One has
26   shipped and Loot Crate has accepted all goods contemplated by the parties’ Purchase
27   Orders.
28

                                                  5
                                            COMPLAINT
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 1           23.    Defendants are indebted to Global One in the amount of $826,736.75 for
 2   goods sold and delivered to Defendants on Defendants’ request pursuant to the Purchase
 3   Orders set forth above and evidenced in Exhibit 2.
 4
             24.    Global One has performed all of the terms and conditions required of it
 5
     under the Contractual Obligations except as excused by Defendants’ breaches.
 6
             25.    Defendants have breached the Contractual Obligations by, inter alia,
 7
     failing to timely pay for the goods they received and accepted under the Purchase
 8
     Orders set forth above.
 9

10           26.    Global One has demanded payment of the amount owing by Defendants

11   but Defendants have not paid this amount and the amount is due and payable from

12   Defendants to Global One.

13           27.    As a result of its breaches of the Contractual Obligations, Defendants have
14   damaged Global One in an amount in excess of $75,000, the exact amount to be proven
15   at trial.
16                                SECOND CAUSE OF ACTION
17               (Breach of The Implied Covenant of Good Faith and Fair Dealing)
18                                        (All Defendants)
19
             28.    Global One reasserts and incorporates herein by reference the allegations
20
     set forth above, the terms of the Vendor Agreement, the Purchase Orders thereunder, the
21
     Payment Agreement, and Davis’s March 14, 2019 promised payment schedule
22
     (collectively, Loot Crate’s “Contractual Obligations”). Global One further incorporates
23
     by reference Exhibits 1 through 4 to this Complaint.
24
             29.    Implicit in the Contractual Obligations between Global One and Loot Crate
25
     was a covenant that Defendants would act in good faith at all times to ensure that Global
26
     One received the benefits of the Contractual Obligations.
27

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                                                   6
                                              COMPLAINT
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 1         30.    Defendants breached this implied covenant of good faith and fair dealing
 2   by depriving Global One of the benefits of the Contractual Obligations to which Global
 3   One was entitled including, but not limited to by: (1) failing to timely pay Global One
 4   for goods it provided to Loot Crate; (2) by promising and then failing to pay the
 5   amounts due under the Contractual Obligations via the payment plans set forth more
 6   fully above; (3) by unlawfully and unjustly retaining the goods and merchandise Global
 7   One provided under the Contractual Obligations without paying for them.
 8
            31.   Global One has been damaged as a result of Defendants’ breaches in an
 9
     amount in excess of $75,000, the exact amount to be proven at trial.
10
                                    THIRD CAUSE OF ACTION
11
                                      (Promissory Estoppel)
12
                                         (All Defendants)
13
           32.    Global One reasserts and incorporates herein by reference the allegations
14
     set forth above, the terms of the Vendor Agreement, the Purchase Orders thereunder, the
15
     Payment Agreement, and Davis’s March 14, 2019 promised payment schedule
16
     (collectively, Loot Crate’s “Contractual Obligations”). Global One further incorporates
17
     by reference Exhibits 1 through 4 to this Complaint.
18

19         33.    As set forth above, Defendants made a clear and unambiguous promise to

20   Global One to pay the $826,736.75 owed and due to Global One on Purchase Order

21   Nos. 3545, 3759, 3793, 3493, 3860, 3821, 3806, 3904, 3590, 3981, 4104, 4051, 4066,

22   4101, 4084, 4044, 4438, 4458, 4544, and 4546 via the terms of the Contractual

23   Obligations set forth above.

24         34.    Global One reasonably and justifiably relied on Defendants’ promises to
25   pay these outstanding amounts. As such, Global One agreed to defer commencing this
26   action to recover these amounts and was further deprived of the use of the funds owed
27   and due to it. To date, Defendants have failed to satisfy their obligations under the
28   Contractual Obligations.

                                                  7
                                             COMPLAINT
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 1         35.    Global One’s reliance on Defendants’ promises was a substantial factor in
 2   causing Global One harm as alleged herein.
 3
           36.    As a result of their conduct alleged above, Defendants have damaged
 4
     Global One in an amount in excess of $75,000, the exact amount to be proven at trial.
 5
                                FOURTH CAUSE OF ACTION
 6
                         (Common Count: Goods Sold and Delivered)
 7
                                         (All Defendants)
 8
           37.    Global One reasserts and incorporates herein by reference the allegations
 9
     set forth above, the terms of the Vendor Agreement, the Purchase Orders thereunder, the
10
     Payment Agreement, and Davis’s March 14, 2019 promised payment schedule
11
     (collectively, Loot Crate’s “Contractual Obligations”). Global One further incorporates
12
     by reference Exhibits 1 through 4 to this Complaint.
13
           38.    Defendants became indebted to Global One within the last two years in the
14
     amount of $826,736.75 for goods and merchandise sold and delivered to Defendant
15
     pursuant to Purchase Order Nos. 3545, 3759, 3793, 3493, 3860, 3821, 3806, 3904,
16
     3590, 3981, 4104, 4051, 4066, 4101, 4084, 4044, 4438, 4458, 4544, and 4546.
17
           39.    Defendants have not paid the $826,736.75 owed and due to Global One on
18
     Purchase Order Nos. 3545, 3759, 3793, 3493, 3860, 3821, 3806, 3904, 3590, 3981,
19
     4104, 4051, 4066, 4101, 4084, 4044, 4438, 4458, 4544, and 4546, though demand for
20
     payment in full has been made. As such, there is now due, owing, and unpaid from Loot
21
     Crate to Global One $826,736.75 plus interest at the applicable legal rate.
22
                                  FIFTH CAUSE OF ACTION
23
                            (Common Count: Open Book Account)
24
                                         (All Defendants)
25
           40.    Global One reasserts and incorporates herein by reference the allegations
26
     set forth above, the terms of the Vendor Agreement, the Purchase Orders thereunder, the
27
     Payment Agreement, and Davis’s March 14, 2019 promised payment schedule
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                                                  8
                                            COMPLAINT
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 1     (collectively, Loot Crate’s “Contractual Obligations”). Global One further incorporates
 2     by reference Exhibits 1 through 4 to this Complaint.
 3
              41.       Between September 2, 2018 and the present Defendants became indebted
 4
       to Global One on an open book account for money due in the sum of $826,736.75 for
 5
       goods and merchandise sold and delivered to Defendant pursuant to Purchase Order
 6
       Nos. 3545, 3759, 3793, 3493, 3860, 3821, 3806, 3904, 3590, 3981, 4104, 4051, 4066,
 7
       4101, 4084, 4044, 4438, 4458, 4544, and 4546. A summary of the open book
 8
       account/account stated is attached hereto as Exhibit 2.
 9
              42.       Defendants have breached the open book account by failing to timely remit
10
       payment and the accrued balance of $826,736.75 (or other such amount according to
11
       proof at trial) for the goods and merchandise provided to Defendants as set forth above,
12
       which is still due, owing and paid.
13

14            43.       As a direct result of Defendants’ breach of the open book account, Global

15     One has incurred costs and attorneys’ fees in the preparation, filing, and prosecution of

16     this action.

17                                        PRAYER FOR RELIEF

18     WHEREFORE, Global One prays for judgment as follows:
19
              1. An award of damages in excess of $75,000 in an exact amount to be proven at
20
                    trial;
21
              2. Prejudgment interest at the applicable legal rate;
22
              3. Post-judgment interest at the applicable legal rate;
23
              4. Attorneys’ fees and costs;
24
              5. Costs and expenses as allowed by law;
25
              6. For such other and further relief as the Court deems just and proper.
26

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                                                       9
                                                  COMPLAINT
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 1     Dated: May 29, 2019                    BARNES & THORNBURG LLP
 2

 3
                                              By: /s/ Garrett S. Llewellyn
 4                                              Garrett S. Llewellyn
                                                Attorneys for Plaintiff
 5                                              Global One Accessories, Inc.
 6

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                                          COMPLAINT
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 1                                DEMAND FOR JURY TRIAL
 2          Plaintiffs hereby demand a jury trial on all issues herein.
 3
       Dated: May 29, 2019                        BARNES & THORNBURG LLP
 4

 5

 6                                                By: /s/ Garrett S. Llewellyn
                                                    Garrett S. Llewellyn
 7                                                  Attorneys for Plaintiff
                                                    Global One Accessories, Inc.
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                                              COMPLAINT
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      [EXHIBIT 1 FILED
        UNDER SEAL]
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                    EXHIBIT 2
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    BARNES & THORNBURG LLP
                                                                                           225 South Sixth Street, Suite 2800
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  Felicia J. Boyd
  612-367-8729
  felicia.boyd@btlaw.com


                                                      May 10, 2019

  Chris Davis
  CEO/Co-Founder
  Loot Crate
  3401 Pasadena Avenue
  Los Angeles, CA 90031


             RE:       Ongoing Non-Payment of Invoices for Delivered Products



  Dear Mr. Davis:

  We are counsel to Global One Accessories, Inc.(“Global One”). As you are aware, Loot Crate has
  received, and not paid for, close to $1 million dollars in products. Attached hereto as Exhibit A is
  a copy of a spreadsheet detailing the amounts due to Global One on a purchase order by purchase
  order basis.

  Global One has tried hard to accommodate Loot Crate’s desire to pay the amounts due to Global
  One over a period of time. Despite your promises of payment, Loot Crate has failed to make even
  a single payment on the plan it proposed. Loot Crate’s bad faith is underscored by its refusal to
  respond to Global One’s repeated communications about non-payment. At this time Global One
  has no choice but to proceed with litigation against Loot Crate to secure the funds due. Global
  One is a small company that is in no position to act like a bank for Loot Crate’s operations. We
  demand, therefore, the immediate payment of all sums due Global One, i.e. $ 826,736.75. Absent
  payment or a satisfactory response in the next 7 days, Global One will commence action against
  Loot Crate.


                                                                Sincerely,

                                                                BARNES & THORNBURG LLP



                                                                Felicia J. Boyd



   Atlanta   California Chicago   Delaware   Indiana Michigan   Minneapolis Ohio   Texas   Washington, D.C
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                    EXHIBIT 3
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                    EXHIBIT 4
     Case 2:19-cv-04673-DMG-JEM Document 1 Filed 05/29/19 Page 25 of 27 Page ID #:25


                         Redacted - Attorney Client Privilege




From: Brandon Michaels
Sent: Sunday, May 5, 2019 1:57 PM
To: Leslie Bromley; Christopher Davis <chris@lootcrate.com>; Christine.Chang@lootcrate.com
Subject: Re: LC Revised Payment Plan
Importance: High

Chris,
Christine,

Good afternoon. This Tuesday will be two weeks since we spoke. You said that you would have some information in a
couple of weeks. Can you please tell me where we stand on getting payments going?

Brandon Michaels
VP of Sales and Licensing
Global One Accessories a Div of Weihai Luda
16 W 32nd St Suite 1107
New York, NY 10001
O: 646.649.3092
C: 917.242.5260

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                                                              1
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From: Leslie Bromley <leslie.bromley17@gmail.com>
Date: Thursday, May 2, 2019 at 3:54 PM
To: "Christopher Davis <chris@lootcrate.com>" <chris@lootcrate.com>, "Christine.Chang@lootcrate.com"
<Christine.Chang@lootcrate.com>
Cc: Brandon Michaels <brandon.michaels@whluda.com>
Subject: RE: LC Revised Payment Plan


Hello Chris and Christine,

I am following up on the below payment plan that was detailed in March. Brandon has shared
that he has unsuccessfully attempted to get resolution to the outstanding payment. I have left
vm for both of you wanting to understand viability and timing to pay for the goods that Weihai
Luda/Global One manufactured for Loot Crate.

Noted rates changed on subscription boxes May 1, 2019 from $19.99 to $24.99. I am making
the assumption that this was to provide additional revenue to support business
operations. Brandon has summarized all outstanding invoices and communication to support
resolution of this outstanding issue. Global One/Weihai Luda is not a large corporation and
the this financial situation has created a tremendous stress on the financials of our
company. It is important that you honor your commitment to make good on your
commitment.

Thank you for returning my call to enable us to determine the right course of action.

Regards,
Leslie Bromley




             From: Christopher Davis <chris@lootcrate.com>
             Date: Thursday, March 14, 2019 at 12:12 AM
             To: Brandon Michaels <brandon.michaels@whluda.com>
             Subject: Revised Payment Plan

             Hi Brandon,

             We apologize for the communication during the transition period with Scott and past
             compliance with the prior payment plan. We are in the middle of a capital raise and will be
             out of this current tight liquidity situation by July and anticipate being able to make a full pay
             down by then. If we complete the raise prior we will make every effort to accelerate this
             plan.

             I wanted to make sure we sent you a plan that I can commit to.

                                                             2
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       Also, I wanted to give your team confidence that you will be paid in full. We have stable
       recurring revenue from our subscriber base and have been tightly managing operating
       expenses until we get through the current payables crunch. It is my priority to make you and
       our other partners whole ASAP.

       I’m happy to speak with anyone from your team to chat through the business and any
       questions around our plan.



        Amount                     Date
                         $50,000    4/5
                         $50,000 4/19

                         $50,000    5/3
                         $50,000 5/17

                         $50,000    6/7
                         $50,000 6/14

        Balance Paydown ~$500k 7/12

       Best,

       --
       Chris Davis
       Loot Crate | CEO/Co-Founder | M: 408.464.0111
       3401 Pasadena Avenue, Los Angeles, CA 90031




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